Case 3:19-cv-21248-BRM-LHG Document 38-1 Filed 06/12/20 Page 1 of 10 PagelD: 396

 

EXHIBIT A

 

 

 
Case 3:19-cv-21248-BRM-LHG Document 38-1 Filed 06/12/20 Page 2 of 10 PagelD: 397

THOMPSON BECKER, L.L.C.

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Our File No. 7500-091

Attorneys for Defendant,

Tod Williams Billie Tsien Architects, LLP

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

THE TRUSTEES OF PRINCETON

UNIVERSITY,
Plaintiff,
Civil Action No.
Vv. 3:19-cv-21248-BRM-LHG
TOD WILLIAMS BILLIE TSIEN TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP; JACOBS ARCHITECTS, LLP’S AMENDED
ARCHITECTS/ENGINEERS, INC.; THIRD-PARTY COMPLAINT

and JACOBS CONSULTANCY INC.,

Defendants.

 

TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP,

Defendant/
Third-Party Plaintiff,

Vv.

ARUP, USA, INC.; THE
BALLINGER COMPANY; SEVERUD
ASSOCIATES CONSULTING
ENGINEERS, P.C.; FISHER
MARANTZ STONE; FRANK HUBACH
ASSOCIATES, INC.; F.J. SCIAME
CONSTRUCTION COMPANY, INC.;
JOHN DOES 1-10 and ABC
CORPORATIONS 1-10,

 

Third-Party Defendants.
Case 3:19-cv-21248-BRM-LHG Document 38-1 Filed 06/12/20 Page 3 of 10 PagelD: 398

Defendant/third-party plaintiff, Tod Williams Billie Tsien
Architects, LLP (“TWBTA”), by way of amended third-party
complaint against the third-party defendants, Arup, USA, Inc.;
The Ballinger Company; Severud Associates Consulting Engineers,
P.C.; Fisher Marantz Stone; Frank Hubach Associates, Inc.; F.J.
Sciame Construction Company, Inc.; Joe Does 1-10; and ABC
Corporations 1-10, says as follows:

1. Plaintiff, The Trustees of Princeton University, has
brought a complaint against TWBTA seeking damages resulting from
alleged design and construction deficiencies related to the
Andlinger Center for Energy & the Environment project.

2. Arup USA, Inc. (“Arup”), doing business at 77 Water
Street, New York, New York 10005, entered into a contract with
TWBTA or otherwise agreed with TWBTA to perform as the
mechanical, electrical, and plumbing engineering consultant on
the project.

3. Arup’s scope of services included, but was not limited
to, providing designs that TWBTA incorporated into the plans and
specifications, and answering requests for information,
reviewing shop drawings/submittals, and reviewing change order
requests related to its scope of services on the project.

4. The Ballinger Company (“Ballinger”), doing business at
833 Chestnut Street, Suite 1400, Philadelphia, Pennsylvania

19107, entered into a contract with TWBTA or otherwise agreed

2
Case 3:19-cv-21248-BRM-LHG Document 38-1 Filed 06/12/20 Page 4 of 10 PagelD: 399

with TWBTA to perform as the associate architect consultant on
the project.

5. Ballinger’s scope of services included, but was not
limited to, providing designs that TWBTA incorporated into the
plans and specifications, and answering requests for
information, reviewing shop drawings/submittals, and reviewing
change order requests related to its scope of services on the
project.

6. Severud Associates Consulting Engineers, P. Cc.
(“Severud”), doing business at 469 Seventh Avenue, Suite 900,
New York, New York 10018, entered into a contract with or
otherwise agreed with TWBTA to perform as the structural
engineering consultant on the project.

7. Severud’s scope of services included, but was not
limited to, providing designs that TWBTA incorporated into the
plans and specifications, and answering requests for
information, reviewing shop drawings/submittals, and reviewing
change order requests related to its scope of services on the
project.

8. Fisher Marantz Stone (“FMS”), doing business at 22 W.
19th Street, New York, New York 10011, entered into a contract
with or otherwise agreed with TWBTA to perform as the lighting

consultant on the project.
Case 3:19-cv-21248-BRM-LHG Document 38-1 Filed 06/12/20 Page 5 of 10 PagelD: 400

9. FMS’s scope of services included, but was not limited
to, providing designs that TWBTA incorporated into the plans and
specifications, and answering requests for information,
reviewing shop drawings/submittals, and reviewing change order
requests related to its scope of services on the project.

10. Frank Hubach Associates, Inc. (“FHA”), doing business
at 4905 Central Avenue #100, Richmond, California 94804, entered
into a contract with or otherwise agreed with TWBTA to perform
as the acoustical consultant on the project.

11. FHA’s scope of services included, but was not limited
to, providing designs that TWBTA incorporated into the plans and
specifications, and answering requests for information,
reviewing shop drawings/submittals, and reviewing change order
requests related to its scope of services on the project.

12. F.J. Sciame Construction Company, Inc. (“Sciame”),
doing business at 14 Wall Street, 2.4 Floor, New York, New York
10005, entered into a Guaranteed Maximum Price (GMP)
Construction Services Contract with plaintiff to provide
construction services on the project in accordance with the
contract documents that included the TWBTA plans and
specifications.

13. Sciame, alone or in concert with its subcontractors
and/or plaintiff, deviated from the requirements of the contract

documents, which included the TWBTA plans and specifications,

4
Case 3:19-cv-21248-BRM-LHG Document 38-1 Filed 06/12/20 Page 6 of 10 PagelD: 401

and the deviations were not coordinated with TWBTA and/or its
consultants in advance of the deviations.

14. Sciame, alone or in concert with subcontractors and/or
plaintiff, made decisions and substitutions altering the
contract documents, which included the TWBTA plans and
specifications, and the decisions and substitutions were not
coordinated with TWBTA and/or its consultants in advance of the
decisions or substitution.

15. Sciame, alone or in concert with subcontractors and/or
plaintiff, made incorporated changes in the project that were
not in conformance with the contract documents, which included
the TWBTA plans and specifications, and the changes were not
coordinated with TWBTA and/or its consultants in advance of the
changes.

16. Sciame, alone or in concert with subcontractors and/or
plaintiff, submitted numerous necessary change orders and
requests for information.

17. Plaintiff approved the uncoordinated deviations,
substitutions, decisions, changes, and unnecessary change orders
without the of coordination and/or approval of TWBTA and/or its
consultants.

18. Plaintiff and Sciame breached their respective

contracts by failing to follow the contract documents, which
Case 3:19-cv-21248-BRM-LHG Document 38-1 Filed 06/12/20 Page 7 of 10 PagelD: 402

included the TWBTA plans and specifications, thereby causing the
damages complained of by the plaintiff in its complaint.

19. Third-party defendants Joe Does 1-10 are individuals
who contracted with plaintiff, Sciame Construction, LLC, TWBTA
Or some other project participant to provide design,
construction, professional, consulting or management services on
the subject project.

20. Third-party defendants ABC Corporations 1-10 are
corporations, partnerships, or other business entities that
contracted with plaintiff, Sciame Construction, LLC, TWBTA or
some other project participant to provide design, construction,
professional, consulting or Management services on the subject
project.

JURISDICTION AND VENUE

21. This Court has subject matter jurisdiction pursuant to
28 U.S.C. §1332(a) (1). The amount in controversy exceeds the sum
or value of $75,000.00, exclusive of interests and costs, and

Plaintiff’s complaint is between citizens of different states.

22. The claims in this third-party complaint are
substantially related to the claims at issue in the complaint
and this Court has supplemental jurisdiction over same.

23. Pursuant to 28 U.S.C. § 1391, the District of New
Jersey is appropriate since the issues of this litigation relate
to a construction project in Princeton, New Jersey.

6
Case 3:19-cv-21248-BRM-LHG Document 38-1 Filed 06/12/20 Page 8 of 10 PagelD: 403

FIRST COUNT - INDEMNIFICATION

24. Defendant/third-party plaintiff TWBTA repeats the
allegations of the prior paragraphs of this amended third-party
complaint as if set forth at length herein.

25. TWBTA denies all legal liability and responsibility
for the acts alleged in plaintiff's complaint.

26. If TWBTA should be found liable to plaintiff herein,
which liability is denied, said liability is secondary,
vicarious, passive, technical or imputed and the liability of
the third-party defendants, including Arup, Ballinger, Severud,
FMS, FHA, Sciame, Joe Does 1-10, and ABC Corporations 1-10, is
primary, active and direct, and the third-party defendants are
obligated by operation of law, contract and otherwise to
indemnify and defend and hold harmless TWBTA from any and all
claims which are the subject of plaintiff's complaint in this
amended third-party complaint.

WHEREFORE, Defendant/third-party plaintiff TWBTA herein
demands judgment for common law and contractual indemnification
from third-party defendants, Arup, USA, Inc., The Ballinger
Company, Severud Associates Consulting Engineers, P.C., Fisher
Marantz Stone, Frank Hubach Associates, Inc., F.J. Sciame

Construction Company, Inc., Joe Does 1-10, and ABC Corporations

1-10.
Case 3:19-cv-21248-BRM-LHG Document 38-1 Filed 06/12/20 Page 9 of 10 PagelD: 404

SECOND COUNT - CONTRIBUTION

27. Defendant/third-party plaintiff TWBTA repeats the
allegations of the prior paragraphs of this amended third-party
complaint as if set forth at length herein.

28. If TWBTA should be found liable to plaintiff, which
liability is denied, defendant/third-party plaintiff TWBTA
asserts that third-party defendants, including Arup, Ballinger,
Severud, FMS, FHA, Sciame, Joe Does 1-10, and ABC Corporations
1-10, are joint tortfeasors with respect to any loss, liability
or expense on account of defendant/third-party plaintiff’s
demand for judgment.

WHEREFORE, Defendant/third-party plaintiff TWBTA herein
demands judgment for contribution against third-party
defendants, Arup, USA, Inc., The Ballinger Company, Severud
Associates Consulting Engineers, P.C., Fisher Marantz Stone,
Frank Hubach Associates, Inc., F.J. Sciame Construction Company,
Inc., Joe Does 1-10, and ABC Corporations 1-10, in accordance
with the provisions of the New Jersey Tortfeasors Contribution
Law, N.J.S.A. 2A:53A-1, et. seg., and the Comparative Negligence
Act, N.J.S.A. 2A:15-5.1, et. seg.

DEMAND FOR TRIAL BY JURY
PLEASE TAKE NOTICE that answering third-party defendant

hereby demands a trial by jury on all issues.
Case 3:19-cv-21248-BRM-LHG Document 38-1 Filed 06/12/20 Page 10 of 10 PagelD: 405

DESIGNATION OF TRIAL COUNSEL
PLEASE TAKE NOTICE that John M. Becker, Esquire is
designated as trial counsel.
THOMPSON BECKER, L.L.C.
Attorneys for Defendant/

Third-party Plaintiff, Tod Williams
Billie Tsien Architects, LLP

Dated: July |}, 2020 Yon /}! . Becker, Esquire
